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                                     United States District Court
                                     For the District of Columbia
                                                      )
Kaspersky Lab, Inc.;                                  )
Kaspersky Labs Limited                                )
                                                      )
                                        Plaintiff     )      Civil Action No._______________________
                         vs
                                                      )
U.S. Department of Homeland Security;                 )
Kirstjen Nielsen, in her official capacity as         )
Secretary of Homeland Security
                                                      )
                                       Defendant      )


                                                    CERTIFICATE RULE LCvR 7.1

                                           Kaspersky Lab, Inc. and Kaspersky Labs Limited certify that to the best of my knowledge and
I, the undersigned, counsel of record for ____________________________________

                                                                           Kaspersky Lab, Inc. and Kaspersky Labs Limited which have
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________

any outstanding securities in the hands of the public:

   None.




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               _______________________________________
                                                               Signature

 1033852
________________________________________                       Ryan P. Fayhee
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               Baker & McKenzie LLP; 815 Connecticut Avenue, NW
                                                               _______________________________________
                                                               Address

                                                               Washington    D.C.           20006
                                                               _______________________________________
                                                               City          State        Zip Code

                                                               (202) 452-7024
                                                               _______________________________________
                                                               Phone Number
